                                          Case 3:20-cv-02901-RS Document 105 Filed 02/16/22 Page 1 of 2




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                                   7                                  UNITED STATES DISTRICT COURT

                                   8                                 NORTHERN DISTRICT OF CALIFORNIA

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                                         SHERRIS MINOR,
                                  10                                                         Case No. 20-cv-02901-RS
                                                        Plaintiff,
                                  11
                                                 v.                                          ORDER RE STATUS
                                  12
Northern District of California
 United States District Court




                                         BAKER MILLS, INC., et al.,
                                  13
                                                        Defendants.
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                                  16          The hearing on plaintiff’s motion for class certification, motion for leave to amend, and

                                  17   associated evidentiary motions was vacated pending disposition of a motion to dismiss in Chong,

                                  18   et al v. KIND LLC, 3:21-cv-04528-RS, which presented preemption issues applicable to this case.

                                  19   The Chong decision has now issued, rejecting the analysis that previously allowed this case to go

                                  20   forward and dismissing the Chong complaint without leave to amend. Within the next two weeks,

                                  21   the parties in this action shall meet and confer to determine if they can reach a stipulation as to

                                  22   how this matter should proceed in light of the Chong judgment, and shall thereafter promptly file a

                                  23   stipulation reflecting any agreements they reach and/or a joint statement setting out their

                                  24   respective positions on any matters as to which no agreement is reached.

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                                   1   IT IS SO ORDERED.

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                                   3   Dated: February 16, 2022

                                   4                                        ______________________________________
                                                                            RICHARD SEEBORG
                                   5                                        Chief United States District Judge
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Northern District of California
 United States District Court




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                                                                                                CASE NO.   20-cv-02901-RS
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